Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.4 Filed 03/06/24 Page 1 of 10




      EXHIBIT 1
          Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.5 Filed 03/06/24 Page 2 of 10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 28496071
Notice of Service of Process                                                                            Date Processed: 02/08/2024

Primary Contact:           Essence Oliphant
                           Dollar Tree Stores Inc
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   Heather Hunter
                                               JJ Jacobson-Allen

Entity:                                       Dollar Tree Stores, Inc.
                                              Entity ID Number 3697563
Entity Served:                                Dollar Tree Stores, Inc.
Title of Action:                              Andree Carwile vs. Dollar Tree Stores, Inc.
Matter Name/ID:                               Andree Carwile vs. Dollar Tree Stores, Inc. (15256437)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Kalamazoo County Circuit Court, MI
Case/Reference No:                            24-0034-NO
Jurisdiction Served:                          Michigan
Date Served on CSC:                           02/07/2024
Answer or Appearance Due:                     28 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           The Sam Bernstein Law Firm, PLLC
                                              248-538-3158

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
            Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.6 Filed 03/06/24 Page 3 of 10

                                                                   Original - Court                                             2nd copy - Plaintiff
                                                                   1st copy - Defendant                                         3rd copy - Return
~ Approved, SCAO
                                                                                                                                    CASE NO.
          STATE OF MICHIGAN                 J
                         JUDICIAL DISTRICT                                                                          24-              0034              -NO
                                                                       SUMMONS
 9TH                      JUDICIAL CIRCUIT
                                     COUNTY                                                                         Honorable Curtis J. Bell
                                                                                                                                              Court telephone no.
Court address
                                                                                                                                             (269) 383-8837
 330 Eleanor St., Kalamazoo MI 49007
                                                                                         Defendant's name, address, and telephone no.
 Plaintiff's name, address, and telephone no.
                                                                                         DOLLAR TREE STORES, INC.
 ANDREE CARWILE
 332 Timber Ridge Drive                                                                  c/o CSC-Lawyers Incorporating Service Company
                                                                              v          3410 Belle Chase Way, Ste. 600
 Kalamazoo, MI 49006
                                                                                         Lansing, MI 48911

                       no., aaaress, ana teiepnone no.
 GREGORY A. LIGHT (P52019)
 THE SAM BERNSTEIN LAW FIRM, PLLC
 31731 Northwestern Hwy., Ste. 333
 Farmington Hills, MI 48334
 (248) 538-3158/Fax (248) 737-4392
                                                                                             n. Submit this form to the court clerk along with your complaint and,
 Instructions: Check the items below that apply to you and provide any required informatio
                                                                          will be completed by the court clerk.
 if necessary, a case inventory addendum (MC 21). The summons section

 Domestic Relations Case
                                                                         family division of the circuit court involving the family or
 ❑ There are no pending or resolved cases within the jurisdiction of the
   family members of the person(s) who are the subject of the complai   nt.
                                                                            of the family division of the circuit court involving
 ❑ There is one or more pending or resolved cases within the jurisdiction
                                                                                       nt. I have separately filed a completed
   the family or family members of the person(s) who are the subject of the complai
   confidential case inventory (MC 21) listing those cases.
                                                                            ion of the family division of the circuit court involving
 ❑ It is unknown if there are pending or resolved cases within the jurisdict
                                                                                        nt.
   the family or family members of the person(s) who are the subject of the complai

  Civil Case
                                                                                   s or commercial dispute under MCL 600.8035.
  ❑ This is a business case in which all or part of the action includes a busines
                                                                                   s in this case. I certify that notice and a copy of
  ❑ MDHHS and a contracted health plan may have a right to recover expense
                                                                                ed  health plan in accordance with MCL 400.106(4).
    the complaint will be provided to MDHHS and (if applicable) the contract
                                                                      the  same  transac  tion or occurrence as alleged in the
  0 There is no other pending or resolved civil action arising out of
    complaint.
                                                                             transaction or occurrence alleged in the complaint has
  ❑ A civil action between these parties or other parties arising out of the
                                                                                                                                                       Court, where
      been previously filed in ❑ this court, ❑ _

      it was given case number                                          and assigned to Judge

      The action      ❑ remains ❑ is no longer pending.

                                                                        SUMMONS
  Summons section completed by court clerk.

                                                                                      n you are notified:
   NOTICE TO THE DEFENDANT: In the name of the people of the State of Michiga
   1. You are being sued.
                                                                                       to file a written answer with the court
   2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint
                                                                                        (28 days if you were served by mail or you
      and serve a copy on the other party or take other lawful action with the court
      were served outside of Michigan).
                                                                                   may be entered against you for the relief
   3. If you do not answer or take other action within the time allowed, judgment
      demanded in the complaint.                                            ~ ti
   4. If you require accomm    odation s to use the court because of a d' 'abiiit
                                                                                  immediate€ °^ m=
      to help you fully participate in court proceedings, please cont ct the . F
                                                                           Court IerK        ,~~                       ,
   Issue date                          Expiration date*
                                                                                  ~                                         J        ?                 =~~'
       January 17, 2024                         April 17, 2024
                                                                            This docum
   *This summons is invalid unless served on or before its expiration date.

  MC 01 (3/23) SUMMONS                                                                       MCR 1.109(D), MCR 2.102(B), MCR 2.103$v4r~'k"2104, MCR 2.105
               Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.7 Filed 03/06/24 Page 4 of 10




                                                                      STATE OF MICHIGAN

                                         IN THE CIRCUIT COURT FOR THE COUNTY OF KALAMAZOO


                             ANDREE CARWILE,

                                  Plaintiff,                                                  Case No. 24-                0034              - NO

                             v                                                                Hon. Curtis J. Bell

                             DOLLAR TREE STORES, INC.,

                                  Defendant.

                             THE SAM BERNSTEIN LAW FIRM, PLLC
                             BY: GREGORY A. LIGHT (P52019)
                             Attorneys for Plaintiff
                             31731 Northwestern Hwy., Ste 333
                             Farmington Hills, MI 48334
                             (248) 538-3158
                                    c
                             glight(~sambe rnstein.com
                             twirtjes@mbernstein.com — Sec.


                                                There is no other civil action between these parties arising out of the same transaction
                                               or occurrence as alleged in this Complaint pending in this Court, nor has any such action
                                               been previously filed and dismissed or transferred after having been assigned to a judge,
                                                                                                                                     same
                                               nor do I know ofany other civil action not between these parties, arising out ofthe
                                                  transaction or occurrence  as alleged in this Complaint that is either pending or was
                                                previously filed and dismissed, transferred, or otherwise disposed of after having been
                                                                            assigned to a judge in this Court.



                                                                              COMPLAINT

                                                                                                                                                   The Sam
                                   NOW COMES the Plaintiff, ANDREE CARWILE, by and through her attorneys,
                                                                                                                                               against the
                             Bernstein Law Firm, PLLC, by GREGORY A. LIGHT, and for her cause of action
                                                                                                                                                        as
            THE              Defendant, DOLLAR TREE STORES, INC., respectfully states to this Honorable Court
SAM BERNSTEIN,
         LAW F[RM

31731 NORTHWESTERN HIGHWAY
                             follows:
         SUITE 333

    FARMINGTON HILLS,

   MICHIGAN 48334-1669

      (900) 225-5726

   A PRCFESSIONAL LIMITED
      LIABILITY COMPANY
                Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.8 Filed 03/06/24 Page 5 of 10




                                      1.    That Plaintiff, ANDREE CARWILE, at all times pertinent hereto, was a resident

                              of the City of Kalamazoo, County of Kalamazoo, State of Michigan.

                                      2.    That Defendant, DOLLAR TREE STORES, INC., is a foreign for-profit

                               corporation duly licensed and authorized to do business in the State of Michigan and does

                               business in the City of Kalamazoo, County of Kalamazoo, State of Michigan, and whose

                               registered agent with the State of Michigan is CSC-LAWYERS INCORPOR.ATING SERVICE

                               located at 3410 Belle Chase Way, Ste. 600, Lansing, MI 48911.

                             '---------3.    T-hatal-1-the-aets,--tr-ansaetions-and-occur-rences-the-subject-of-this-lawsui

                               the City of Kalamazoo, County of Kalamazoo, State of Michigan.

                                      4.     That the amount in controversy in this litigation exceeds the sum of Twenty-Five

                               Thousand ($25,000.00) Dollars exclusive of costs, interest and attomey fees.

                                       5.    That on or about January 15, 2022, Defendant was then and there the owner,

                               operator and/or in control of the premises known as the DOLLAR TREE store located at 1722

                               W. Main Street, Kalamazoo, Michigan, 49006, exercising control over the common sidewalk and

                               walkway areas and parking lots thereof.

                                       6.    That on the aforementioned date, your Plaintiff, ANDREE CARWILE, was

                               lawfully upon the aforementioned premises and while walking carefully did slip and fall to the

                               ground with great force and violence due to the dangerous conditions then and there existing, to-

                               wit: ice

                                             That at all times relevant hereto, the Defendant, DOLLAR TREE STORES, INC.,
           T 11 E
SAM BERNSTEIN,                         7.
        LAl9 FIRM

31731 NORTHWESTERN HIGHWAY
                               owed a duty to Plaintiff, v'ho was lawfully upon said premises, to maintain the premises in a safe
         SUITE 333
    FARMINGTON HILLS,
   MICHIGAN 48334-1669         condition free from danger, to exercise reasonable care to diminish the hazards of natural

                               accumulation of ice and snow, and such duty further required that reasonable and appropriate
      (800) 225-5726
  A PROFESSIONAL LIMITED
     LIABILITY COMPANY
               Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.9 Filed 03/06/24 Page 6 of 10




                             measures, in light of existing and created circumstances, be taken within a reasonable time after

                             an accumulation of ice.

                                           That in total disregard of such duties, the Defendant, DOLLAR TREE STORES,

                             INC., at all times material herein, breached said duties in one or more of the following particulars,

                             but not necessarily limited to:

                                            (a)    Negligently, carelessly and recklessly removing snow from the
                                                   premises and placing it on a portion of the premises where it was
                                                   known or should have been known in the exercise of reasonable care
                                                   that snow would melt and form into ice onto the common sidewalks

                                                    individuals who traverse said areas;

                                            (b)    Negligently, carelessly and recklessly maintaining the premises in a
                                                   dangerous condition which constituted the creation of an unnatural
                                                   accumulation of ice when it was known or should have been known
                                                   that the particular landscaping and configurements of their property
                                                   posed a propensity toward the formation of a hazardous and unsafe
                                                   condition of ice;

                                            (c)     Negligently, carelessly and recklessly increasing the hazard of
                                                    walking on ice on the sidewalks and/or walkways by the creation of
                                                    the aforesaid accumulation and by failing to correct said situation;

                                            (d)     Negligently, carelessly and recklessly failing to keep said common
                                                    s:dewalks and parking lot areas properly clear and free from hazards
                                                    after the affirmative acts of Defendant which did create, cause and/or
                                                    contribute to an unnatural accumulation of ice as hereinbefore
                                                    described;

                                            (e)     Negligently, carelessly and recklessly allowing unnatural
                                                    accumulations of ice to remain on the property so as to endanger
                                                    those persons lawfully upon same;
           THE

SAM BERNSTEIN,                              (f)     Negligently, carelessly and recklessly failing to remove a dangerous
        LAW pIRM
                                                    condition then and there existing from the property;
31731 NORTHWESTERN HIGHWAY

         SUITE 333

    FARMINGTON HILLS,
                                            (g)     Negligently, carelessly and recklessly maintaining a hazardous
   MICHIGAN 48334-1669
                                                    condition on property flowing from Defendant's premises;
      (800) 225-5726

  A PROFESSIONAL LIMITED
     LIABILITY COMPANY


                                                                               3
              Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.10 Filed 03/06/24 Page 7 of 10




                                 (h)   Negligently, carelessly and recklessly failing to provide Plaintiff
                                       reasonable and safe means of necessary access in and about said
                                       premises, and to keep him safe from dangerous unnatural
                                       accumulations of snow and ice;

                                 (i)   Negligently, carelessly and recklessly failing to keep the premises and
                                       all common areas herein fit for the foreseeable uses and in proper
                                       repair pursuant to MCLA 554.139.

                                 (j)   Negligently, carelessly and recklessly failing to sand, salt and/or
                                       remove said ice from said premises, after notice of the dangerous
                                       condition thereof;

                                 (k)   Negligently, carelessly and recklessly failing to use reasonable care to
                                           +o ~~L.o_D1.~;ÇF.,.-..7 +L . 1;1       ,-.-. ,., I ~ .,,,,~t fL,o
                                       arising from the unnatural accumulation of ice;

                                 (1)   Negligently, carelessly and recklessly allowing said common
                                       sidewalks and parking lot to become and remain in poor repair;

                                 (m)   Negligently, carelessly and recklessly failing to inspect said premises
                                       so as to discover a dangerous condition of which Defendant knew or
                                       had reason to know existed;

                                 (n)   Negligently, carelessly and recklessly failing to alleviate a dangerous
                                       condition which Defendant knew or had reason to know existed;

                                 (o)   Negligently, carelessly and recklessly failing to warn Plaintiff and
                                       those persons like Plaintiff of the dangerous condition then and there
                                       existing;

                                 (p)   Breaching its contract to properly perform snow and ice maintenance
                                       services to Plaintiff, a party to that contract or a third-party
                                       beneficiary of that contract;

                                 (q)   In presenting and maintaining a nuisance on its premises;

                                 (r)   In violating safety codes, including local statutes and ordinances, the
                                       Michigan Building Code and/or the International Property
           THE
SAM BERNSTEIN,
        LnW FI6M                       Maintenance or Building Codes, among others;
31731 NORTHWESTERN HIGHWAV
         SUITE 333

    FARMINGTON HILLS,
                                 (s)   In otherwise negligently, carelessly and recklessly failing to exert that
   MICHIGAN 48334-1669
                                       degree of care, caution and diligence as would be demonstrated by a
      (800) 225-5726
                                       reasonable prudent person under the same or similar circumstances
  A PROFESSIONAL LIMITED
                                       and in otherwise causing the injuries and damages to Plaintiff as
     LIABILITY COMPANY                 hereinafter alleged;
                                                                  4
             Case 1:24-cv-00231-RJJ-PJG ECF No. 1-1, PageID.11 Filed 03/06/24 Page 8 of 10




                                               (t)       Negligently, carelessly and recklessly being guilty of other acts or
                                                         negligence currently unknown to Plaintiff, but which will be
                                                         ascertained through the discovery process.
                                                                                                                                   the
                                       9.      That as a direct and proximate result of the negligent acts and/or omissions on
                                                                                                                            with great
                                 part of the Defendant, Plaintiff, ANDREE CARWILE, was caused to fall to the ground
                                                                                                                         disability and
                                 force and violence and to suffer severe, grievous and permanent personal injuries,
                                                                                                                          will include
                                 damages, the full extent and character of which are currently unknown, but which

                                 but are not necessarily limited to:

                             ~         ---J -- -(a)------- Fractured-rightshoulder;

                                               (b)       Fractured right arm;

                                                (c)      Surgical repair of shoulder and arm;

                                                   (c)   An aggravation of pre-existing back condition;

                                                   (d)   Scarring and disfigurement;

                                                   (e)   Various and diverse injuries to the extremities with all attendant
                                                         injuries to bones, muscles, tissues, nerves, cartilages, ligaments and
                                                         tendons thereof;

                                                   (f)   Pain, suffering, discomfort, disability, extreme physical and emotional
                                                         suffering;

                                                   (g)    Severe and continuing embarrassment, humiliation, anxiety, tension
                                                          and mortification;

                                                   (h)    Loss of the natural enjoyments of life; and

                                                   (i)    Fxpenditures for physicians, hospitals, medicinal things and
                                                          substances and lost wages and/or loss of earning capacity;
SAM BERNSTEIN,
        L,1n• PI6M
                                        WHEREFORE, Plaintiff, ANDREE CARWILE, prays this Honorable Court award him
31731 NORTHWESTERN HIGHWAY

                                                                                                                                   and
                                  damages in whatever amount to which he is entitled to receive, together with costs, interest
         SUITE 333

    FARMINGTON HILLS,

   MICHIGAN 48334-1669

      (800) 225-5726
                                  attorney fees.
   A PROFESSIGNAL LIMITED
      LIABILITY COMPANY

                                                                                      5
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                                                       Respectfully submitted,

                                                       THE SAM BERNSTEIN LAW FIRM, PLLC


                             Dated: January 17, 20~4
                                                       GREGORY A. LIGHT (P52019)
                                                       Attorneys for Plaintiff
                                                       3173 1 Northwestern Hwy., Ste. 333
                                                       Farmington Hills, MI 48334
                                                       (248) 538-3158
                                                       l~ht(a~sambernstein.com




SAM BERNSTEIN,
         LA14 PIRM

31731 NORTHWESTERN HIGHWAY
         SUITE 333

    FARMINGTON HILLS,

   MICHIGAN 48334-1669

      (800) 225-5726
   A PROFESSIONAL LIMITED
      LIA8ILITY COMPANY

                                                           6
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             STATE OF MICHIGAN                                                                        CASE NO. and JUDGE
                   JUDICIAL DISTRICT                                                                  24-       0034     -NO
                                                                     JURY DEMAND
    9TH                  JUDICIAL CIRCUIT
    Kalamazoo                     COUNTY
                                                                                                                               Court telephone no.
    Court address
                                                                                                                               (269) 383-8837
    330 Eleanor St., Kalamazoo MI 49007
    Plaintiffs/Petitioner's name                                              Defendant's/Respondent's name
    ANDREE CARWILE                                                            DOLLAR TREE STORES, INC.
    Plaintiffs/Petitioner's address and telephone no. or attorney name,       Defendant's/Respondent's address and telephone no. or attomey name,
    bar no., address, and telephone no.                                       bar no., address, and telephone no.

     GREGORY A. LIGHT (P52019)                                            V
     THE SAM BERNSTEIN LAW FIRM, PLLC
     31731 Northwestern Hwy., Ste. 333
     Farmington Hills, MI 48334 / (248) 538-3158

                                     CARWILE v DOLLAR TREE STORES, INC.
     In-the matterof-ANDREE


     1. I demand a jury trial.



    1/17/2024
                                                                                                ~.
    Date                                                                  Signature




     Approved, SCAO                                                             Distribute form to:
     Form MC 22, Rev. 9/23                                                      Court
     MCL 600.857(3), MCL 600.2529(1)(c), MCR 2.508, MCR 2.509, MCR 3.911        Plaintiff/Petitioner
     Page 1 of 1                                                                Defendant/Respondent
